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             WISSER FARMS
Monthly Operating Report: July 2021

INCOME
Maryland and Virginia Milk Producers Coop
Assn., Inc.                                       $14,135.46
Credit Interest from Bank Account                      $0.58

Gross Income:                                     $14,135.46

EXPENSES
Hauling (deducted by Coop)                        ($1,184.78)
Assignments (deducted by Coop)                      ($749.47)
Chapter 12 Trustee Payments                       ($1,200.00)
Northwest Payments -Adequate Prot.                ($2,506.77)
USDA Payments -Adequate Protection                ($2,400.00)
Dairy Supplies                                      ($232.50)
Feed                                              ($4,500.00)
Electric                                            ($324.19)
Insurance                                           ($784.49)
New Tripoli Bank - Debt                             ($600.00)
Unspecified Costs (est.)                            ($384.20)
Fuel                                                ($707.70)

Total Expenses:                                  ($15,574.10)

Profit Less Expenses:                             ($1,438.64)
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                                                                                                                        Payment Date 08/18/2021




         Larry L. Wisser                                        32913-1
         8149 Bausch Road
         New Tripoli, PA 18066                                                                                   Direct Payment: XXXXXX9001
                                                                                                                        Net Earnings: $5,403.37




Grade A Lbs:                                               79,681      Total Delivered Lbs:                                                  79,681
YTD                                                        79,681      MDVA 3.5% Blend Price                                                  16.76
Average Daily Lbs:                                          2,570      Gross Price at Test                                                    17.74
                                                                       Mailbox Price                                                          15.31

Payroll Summary                           Test               Rate                   Pounds                     Total                        YTD
Butterfat                               4.1606             1.8996                3,315.2325                $6,297.62                   $6,297.62
Protein                                 3.1956             2.4957                2,546.2538                $6,354.69                   $6,354.69
Other Solids                            5.7095             0.4181                4,549.4080                $1,902.11                   $1,902.11
PPD                                                        1.1700               79,681.0000                  $932.27                     $932.27
                                                                                                          $15,486.69                  $15,486.69

Programs                                 Test                 Rate                    Pounds                    Total                        YTD
SCC Quality                           538,759              -0.7958                     79,681               ($634.10)                   ($634.10)
Programs & Marketing                                       -0.9000                     79,681               ($717.13)                   ($717.13)
                                                           -1.6958                                        ($1,351.23)                 ($1,351.23)

Hauling Deductions                                                                                              Total                        YTD
Assembly                                                                                                    ($335.78)                   ($335.78)
Destination                                                                                                 ($849.00)                   ($849.00)
                                                                                                          ($1,184.78)                 ($1,184.78)

Assignments                                                  Rate                     Pounds                   Total                         YTD
00001     National Dairy Promo & Research Board            0.0500                      79,681               ($39.84)                     ($39.84)
00008     Allied Milk Producers                            0.1000                      79,681               ($79.68)                     ($79.68)
00020     Marketing Expense                                0.5506                      79,681              ($438.72)                    ($438.72)
00021     Capital Retain                                   0.2000                      79,681              ($159.36)                    ($159.36)
00030     CWT                                              0.0400                      79,681               ($31.87)                     ($31.87)
                                                                                                           ($749.47)                    ($749.47)

Gross Pay                                                                                                       Total                       YTD
Gross Pay                                                                                                 $14,135.46                  $14,135.46
Less Advance                                                                                              ($6,797.84)
Less Hauling                                                                                              ($1,184.78)                 ($1,184.78)
Less Assignments                                                                                            ($749.47)                   ($749.47)
Net Earnings                                                                                                $5,403.37                 $12,201.21

Tank            Day      Manifest     Pickup      Bfat   Prot        OS       SCC           PI    SPC        MUN         TEMP      Freeze      INH
1          07/03/2021      1908731     11,245                                                                                38
1          07/06/2021      1908380      7,542     4.14   3.21        5.72   390,000      6,000    5,000        11            37     -0.539        0
1          07/09/2021      1908381      7,277     4.24   3.12        5.69   420,000                            12            37     -0.540
1          07/12/2021      1908383      7,938     3.93   3.12        5.73   490,000                             9            38     -0.541
1          07/15/2021      1908384      7,575     4.19   3.20        5.73   610,000                            11            36     -0.540
1          07/18/2021      1908837      7,558     4.21   3.16        5.67   680,000     13,000*                11            37     -0.536

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        Larry L. Wisser                                      32913-1
        8149 Bausch Road
        New Tripoli, PA 18066                                                                       Direct Payment: XXXXXX9001
                                                                                                           Net Earnings: $5,403.37




Tank           Day      Manifest    Pickup    Bfat   Prot         OS      SCC       PI    SPC     MUN     TEMP      Freeze     INH
1        07/21/2021       1908836     7,492   4.22    3.19       5.71   570,000   4,000            10         38     -0.541
1        07/24/2021       1908897     6,085   4.26    3.24       5.70   630,000                    11         37     -0.540
1        07/27/2021       1908858     9,064   4.17    3.22       5.72   570,000                    10         37     -0.541
1        07/30/2021       1908859     7,905   4.12    3.30       5.71   500,000                    11         37     -0.543
                                     79,681   4.16    3.20       5.71   538,759   5,003   5,000    11         37     -0.540       0

Total                                79,681   4.16    3.20       5.71   538,759   5,003   5,000    11         37     -0.540       0




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             WISSER FARMS
Monthly Operating Report: August 2021

INCOME
Maryland and Virginia Milk Producers Coop
Assn., Inc.                                    $11,027.30
Credit Interest from Bank Account                   $0.23
Cash from Larry Wisser (employment)             $1,603.40

Gross Income:                                  $12,630.93

EXPENSES
Hauling (deducted by Coop)                       ($957.61)
Assignments (deducted by Coop)                   ($658.37)
Chapter 12 Trustee Payments                    ($1,200.00)
Northwest Payments -Adequate Prot.             ($2,506.77)
USDA Payments -Adequate Protection             ($2,400.00)
County Taxes                                   ($1,310.18)
Dairy Supplies
Feed                                           ($3,232.50)
Electric                                         ($344.48)
Insurance                                        ($784.49)
New Tripoli Bank - Debt                        ($1,200.00)
Unspecified Costs                                ($235.05)
Legal Fees                                     ($4,500.00)

Total Expenses:                               ($19,329.45)

Profit Less Expenses:                          ($6,698.52)
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